                              UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF WISCONSIN
                                            OFFICE OF THE CLERK

                                               362 U.S. COURTHOUSE
                                               517 E. WISCONSIN AVE
                                               MILWAUKEE, WI 53202

STEPHEN C. DRIES                                                                                 TEL: 414-297-3372
     CLERK                                                                                       FAX: 414-297-3253
                                                                                                www.wied.uscourts.gov


                                                August 2, 2017

    Warden
    New Lisbon Correctional Institution
    2000 Progress Rd., PO Box 4000
    New Lisbon, WI 53950-2000

            Re:     Shawn D. Jones
                    District Court No. 16-CV-1303
                    Appeal No. 17-1911
                    Balance Due: $505.00

    Dear Warden:

           The Court of Appeals for the Seventh Circuit has ordered an inmate in your custody to
    pay the $505.00 appeal fee to the Clerk of the District Court. A copy of the order is enclosed.

           The institution has an obligation to forward payments from the prisoner’s account
    pursuant to 28 U.S.C. § 1915(b)(2) and Lucien v. DeTella, 141 F.3d 773 (7th Cir. 1998).
    Payments should be collected monthly from the inmate's prison trust account in an amount equal
    to 20% of the preceding month's income credited to the prisoner's account and payments should
    be forwarded to the Clerk of the District Court each time the amount in the account exceeds
    $10.00.

             If this inmate is transferred to another county, state, or federal institution, the transferring
    institution shall forward a copy of this letter and the enclosed order with the inmate's remaining
    balance to the receiving institution.

                                                             Very truly yours,
                                                             STEPHEN C. DRIES
                                                             Clerk of Court

                                                             s/D. La Brie
                                                             Deputy Clerk
    cc: Shawn D. Jones




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